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NOTICE OF AND RESCISSION OF ATTACHMENT A DEFENDANT’S ACCEPTANCE

Notice Date: Day: Twenty-seven Month: Two Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

In reply to : “Case 1:21-cr-00091-RCL Document 25-3 Filed 04/20/21 Page 1 of 1 ATTACHMENT A Defendant’s Acceptance 7

PLEASE TAKE NOTICE that I, Taylor James Johnatakis a sentient moral being, Rescission the original
“Case 1:21-cr-00091-RCL Document 25-3 Filed 04/20/21 Page 1 of 1 ATTACHMENT A Defendant’s
Acceptance” including every copy, bearing my signature, wet ink or electronic, Taylor James Johnatakis for
cause.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and deed.

I made a mistake Creating, Signing and Presenting the original “Case 1:21-cr-00091-RCL Document 25-3 Filed
04/20/21 Page 1 of 1 ATTACHMENT. A Defendant’s Acceptance”.

Therefore, I now repent of my Sin.

“My son, if you: Have become guarantor for your friend, Have shaken hands in a pledge for a stranger, Have
been snared by the words of your own mouth, Have been caught by the words of your own mouth- Do this at
once, my son, and deliver yourself, For you have come into the hand of your friend: Go, humble yourself, and
urge your friend. Give no sleep to your eyes, Nor slumber to your eyelids. Deliver yourself like a gazelle from
the hunter’s hand, And like a bird from the hand of the trapper.” 1

“He who is guarantor for a stranger suffers harm, But one who hates shaking hands in a pledge is safe.” 2

Sincerely,

je prea fpf
Taylor James Johnatakis
% 29628 Gamble PL NE

Kingston, Washington

Attachment: “Case 1:21-cr-00091-RCL Document 25-3 Filed 04/20/21 Page 1 of 1 ATTACHMENT A Defendant’s Acceptance”

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc; Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98 104

1 Proverbs 6 verses 1 through 5, The Scriptures, published by Institute For Scripture Research (PTY) LTD South Africa
PO. Box 1830 Northriding 2162 South Africa

2 Proverbs 11 verse 15, The Scriptures, published by Institute For Scripture Research (PTY) LTD South Africa P.O. Box 1830 Northriding 2162 South Africa

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